Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 1 of 13 PAGEID #: 4770

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Kristen McDonald,
individually and on behalf of

a class of others similarly situated
Case No. 2:13-cv-503

Plaintiffs,
Judge Michaei H. Watson

v.
Magistrate Judge Vascura
Franklin County, Ohio,
Defendant.

OPINION AND ORDER
Defendant Franklin County, Ohio (“Defendant”) moves for summary
judgment against Plaintiff on her remaining photography class claims. Mot.

Summ. J., ECF No. 198. For the following reasons, Defendant's motion is

DENIED.’
Il. PROCEDURAL AND FACTUAL BACKGROUND

A. Procedural Background

Piaintiff filed her Complaint on May 23, 2013, and subsequently amended

the Complaint on September 30, 2013. As discussed in the Court's prior Opinion

 

' Because this opinion and order deals with an issue that was previously briefed and
decided by the Court based on a more limited set of facts, the bulk of this Opinion’s
procedural background, facts, and legal standards are simply repeated from the Court’s
prior Opinion and Order granting in part and denying in part Defendant’s first motion for

summary judgment, ECF No. 187.

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 2 of 13 PAGEID #: 4771

and Order on the parties’ motions for summary judgment, ECF No. 187, the
Amended Complaint asserts that Defendant’s procedures for admitting detainees
to the Franklin County Corrections Center at Jackson Pike (“Jackson Pike’),
which typically houses female detainees, are unconstitutional under the Fourth
and Fourteenth Amendments. After the Court granted summary judgment to
Defendant on certain claims in its prior Opinion and Order, ECF No. 187,
Plaintiffs only remaining claim relates to Defendant’s policy of photographing ail
tattoos on detainees, including tattoos on a detainee’s private areas.

The Court previously certified a photography class pursuant to Rule
23(b\2) and Rule 23(b)3), permitting Plaintiff to seek both injunctive and
monetary relief on behaif of the photography class. Order 20, ECF No. 92.

In its prior Opinion and Order, the Court denied Defendant's motion for
summary judgment on the photography class claims, finding “that there are
genuine issues of material facts as to whether Defendant's policy of
photographing all tattoos, including those located on the ‘breasts, hypogastric
region, genitals, and/or buttocks,’ violates the Fourth Amendment to the United
States Constitution.” Op. & Order 27, ECF No. 187.

Based on the briefing presented for the prior round of summary judgment,
the Court was concerned that it had not been presented with all relevant facts
necessary to rule on Plaintiffs photography class claims. Therefore, after ruling

on the motions for summary judgment, the Court held a status conference on

Case No. 2:13-cv-503 Page 2 of 13

 

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 3 of 13 PAGEID #: 4772

April 26, 2018. At that status conference, the Court ordered supplemental
discovery to address the following questions from the Court:
What does Defendant do with the tattoo photographs that are taken?
If the photographs have ever been subsequently reviewed, what
purposes have been served by the review? Are the photographs
reviewed for gang affiliation/classification prior to admitting detainees
to the generai population of Jackson Pike? Are they subsequently

reviewed for gang affiliation/classification after detainees are admitted

to the general population?
Do any other facilities photograph tattoos on private areas? If so, is it
only for felony arrestees or is it also done for misdemeanor arrestees?

Order, ECF No. 189. The Court also gave the parties an opportunity to file
renewed motions for summary judgment, id. at 2, which Defendant opted to do,
ECF No. 198.

B. Factual Background

The general facts of this case have been jaid out in the Court's prior orders
and are repeated here as a starting point.

On June 29, 2012, Plaintiff Kristen McDonald was arrested for disorderly
conduct (a fourth-degree misdemeanor). Plaintiff was transported to Jackson
Pike, one of the County’s two local correctional facilities. Jackson Pike typically
houses female detainees, while the second facility (Corrections Center One)
typically houses male detainees. Both facilities receive individuals charged with

a range of violations, from serious felony offenses to minor misdemeanors and

city code violations.

Case No. 2:13-cv-503 Page 3 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 4 of 13 PAGEID #: 4773

Upon admittance to Jackson Pike, Plaintiff was subject to the institution’s
“change-out” procedure, which required Plaintiff to strip to her underwear in front
of a Franklin County Corrections Deputy. The Deputy visually inspected Plaintiff
to determine if she had contraband on her person. Plaintiff was also required to
remove her underwire brassiere and piercings from her breasts while being
watched by a corrections officer, at which point Plaintiff received a Jackson Pike
uniform. Plaintiff does not allege or assert that the Deputy or other County
personnel touched her at any point.

After Plaintiff underwent this visual inspection and change of clothing, she
was directed to the identification room by a County Identification Technician (“ID
Tech’). Plaintiff was asked whether she had any tattoos, and after she
responded that she did, including tattoos on her genitals, her tattoos were
photographed. Plaintiff has testified that the photographer was a male, Michael
Cunningham. Plaintiff has also testified that the doorway to the identification
room was open when the photographs were taken. Furthermore, the room is
subject to video monitoring. The photos are stored on a computer where they
can be accessed by several individuals. Plaintiff has not provided any evidence
that anyone has inappropriately accessed or used the photographs.

After having her tattoos photographed, Piaintiff was transferred to a
housing unit in the general population of the Jackson Pike facility. She was

released on bail the next day. Two days later, Plaintiff was arraigned in the

Case No. 2:13-cv-503 Page 4 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 5 of 13 PAGEID #: 4774

County Municipal Court, the charges against her were dismissed, and her record
was sealed.

The remaining facts, including the facts revealed during the supplemental
discovery period, will be discussed as part of the analysis of Defendant’s motion
for summary judgment.

il. STANDARD

The standard governing summary judgment is set forth in Federal Rule of
Civil Procedure 56(a), which provides: “The court shall grant summary judgment
if the movant shows that there is no genuine dispute as to any material fact and
the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The
Court must grant summary judgment if the opposing party fails to make a
showing sufficient to establish the existence of an element essential to that
party’s case and on which that party will bear the burden of proof at trial.

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see also Van Gorder v.
Grand Trunk W. R.R., Inc., 509 F.3d 265, 268 (6th Cir. 2007).

When reviewing a summary judgment motion, the Court must draw all
reasonable inferences in favor of the nonmoving party, who must set forth
specific facts showing there is a genuine issue of material fact for trial, and the
Court must refrain from making credibility determinations or weighing the
evidence. Pittman v. Cuyahoga Cty. Dep’t of Children and Family Servs., 640

F.3d 716, 723 (6th Cir. 2011). Summary judgment will not lie if the dispute about

Case No. 2:13-cv-503 Page 5 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 6 of 13 PAGEID #: 4775

a material fact is genuine, “that is, if the evidence is such that a reasonable jury
could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248 (1986); Barrett v. Whirlpool Corp., 556 F.3d 502, 511 (6th Cir.
2009). Thus, the central issue is “‘whether the evidence presents a sufficient
disagreement to require submission to a jury or whether it is so one-sided that
one party must prevail as a matter of law.” Pittman, 640 F.3d at 723 (quoting
Anderson, 477 U.S. at 251-52). -
lil. ANALYSIS

A. Standard for Fourth Amendment Claims for Pretrial Detainees

Both the Supreme Court and the Sixth Circuit have issued a number of
opinions evaluating the Fourth Amendment rights of pretrial detainees. While
“there is no mechanicai way to determine whether intrusions on an inmate’s
privacy are reasonable,” Florence, 566 U.S. 318, 327 (2012) (citing Bell v.
Wolfish, 441 U.S. 520, 559 (1979)), prior decisions have provided both general
guidance for how to evaluate such claims as well as a number of examples
providing points of comparison when evaluating corrections policies.

As an initial matter, convicted prisoners, or pretrial detainees as in this
case, “do not forfeit all constitutional protections by reasons of their conviction
and confinement in prison.” Bell, 441 U.S. at 545. These rights include “the
Fourth Amendment's guarantee of ‘reasonable expectations of privacy.”

Williams v. City of Cleveland, 771 F.3d 945, 950 (6th Cir. 2014) (quoting

Case No. 2:13-cv-503 Page 6 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 7 of 13 PAGEID #: 4776

Stoudemire v. Mich, Dep't of Corr., 705 F.3d 560, 572 (6th Cir. 2013)). However,
that “does not mean that these rights are not subject to restrictions and
limitations.” Bell, 441 U.S. at 545. “[Mjaintaining institutional security and
preserving internal order and discipline are essential goals that may require
limitation or retraction of the retained constitutional rights of . . . pretrial
detainees.” Bell, 441 U.S. at 546.

Because “the problems that arise in the day-to-day operation of a
corrections facility are not susceptible of easy solutions,” officials “should be
accorded wide-ranging deference in the adoption and execution of policies and
practices that in their judgment are needed to preserve internal order and
discipline and to maintain institutional security.” /d. at 547. “fl]n the absence of
substantial evidence in the record to indicate that the officials have exaggerated
their response to these considerations, courts should ordinarily defer to their
expert judgment in such matters.” /d. at 548.

Therefore, even when a correctional facility policy infringes on a
constitutional guarantee, “the practice must be evaluated in the light of the
central objective of prison administration, safeguarding institutional security.” /d.
at 547. In other words, “The need for a particular search must be balanced
against the resulting invasion of personal rights.” Florence, 566 U.S. at 327
(citing Bell generally). In order to conduct this balancing test, the Court “must

consider the scope of the particular intrusion, the manner in which it is

Case No. 2:13-cv-503 Page 7 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 8 of 13 PAGEID #: 4777

conducted, the justification for initiating it, and the place in which it is conducted.”
Bell, 441 U.S. at 559.

“Florence does not stand for the proposition that every search conducted
pursuant to a jail’s uniformly applicable search policy is impregnable from attack
on that basis alone.” Williams, 771 F.3d at 951. Strip searches are “a
particularly extreme invasion” of Fourth Amendment rights, and they “may be
unreasonable by virtue of the way in which [they are] conducted.” Jd. at 951-52.
“Any given search or seizure of a detainee may not arbitrarily or needlessly
encroach upon the detainee’s privacy rights but must instead be ‘reasonably
related to legitimate penological interests.” Williams, 771 F.3d at 950 (quoting
Stoudemire, 705 F.3d at 572). In Williams, for example, the jail’s method of
searching prisoners (arrestees were fully disrobed in front of a correctional officer
and sprayed on their naked body, including their exposed genitals, with a
delousing solution from a pressurized metal canister) was such a “significant
incursion into plaintiffs’ privacy rights” that the Sixth Circuit found “the jail’s need
to perform the searches in [that] particular manner must be unusually dire before
it can outbalance the affront to plaintiffs’ privacy.” /d. at 954.

If there is no “readily available alternative” to the correctional facility's
practice, it is likely that the policy is “reasonably related to its legitimate
penological interests.” /d. at 950. However, an easy alternative to the policy

“that fully accommodate[s] the prisoner’s rights at de minimis cost to valid

Case No. 2:13-cv-503 Page 8 of 13

 

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 9 of 13 PAGEID #: 4778

penological interests” suggests the facility's choice to implement that policy does
not outweigh the constitutional burden imposed on its detainees. Id.

B. Photography Class Claims

As explained above, the parties were granted additional discovery and

permission to file a second motion for summary judgment on the photography
class claims. The new evidence Defendant provided in its motion for summary
judgment and Plaintiff provided in her response all goes to Defendant's
justification for its tattoo photography policy. In its prior Opinion and Order, the
Court found that Defendant had two justifications for photographing all tattoos on
inmates——i.e. identification of gang affiliation and identification in future law
enforcement cases, Op. & Order 20-23, ECF No. 187, and the Court questioned
whether identification of gang affiliation was truly one of the purposes of the
policy. Defendant addressed one of the Court’s concerns by providing testimony
indicating that Franklin County’s jails have encountered at least one gang-related
tattoo on an inmate’s genitals (lightning bolts signifying the Aryan brotherhood).?
Martin Dep. 31:6-20, ECF No. 196. While one tattoo found on an inmate’s
genitals seems to be a relatively rare occurrence, it does provide some evidence
supporting Defendant’s argument that gang-related tattoos in private areas could

be a legitimate safety threat.

Defendant went on to address the Court’s questions by presenting some

 

? There is no testimony that this identification was aided by a photograph of the tattoo.
Case No. 2:13-cv-503 Page 9 of 13

 

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 10 of 13 PAGEID #: 4779

evidence that there are other jails that photograph tattoos in sensitive areas. See
Mot. Summ. J. 17-19, ECF No. 198. Specifically, Defendant's expert, Captain
Stewart, sent an inquiry to an email list from the National Jail Academy and the
National Institute for Jail Operations asking whether those agencies

photographed arrestees’ tattoos on private areas, and whether such photographs
were only taken for felons or also for misdemeanants. /d. at 17. Five institutions
responded, and each of them indicated that they take photographs of tattoos on
both felony and misdemeanor arrestees. Stewart Aff. 7, ECF No. 198-1. Oniy
three of the facilities specified that they take photographs of the tattoos even if
they are on a private area. One of these three indicated that they take the
photographs in a “discrete [sic] manner’—but did not specify what that means—
and another specifically stated that photographs taken of tattoos near private
areas are taken by zooming in so the photograph depicts only the tattoo. /d.
Defendant does not zoom in so that only the tattoo is depicted, as evidenced by
the photograph taken of Plaintiff. Here again, Defendant’s supplemental
information provides limited evidence that there are some other facilities that
follow a similar tattoo photography policy. It is unclear, however, how many
facilities are on the email list Captain Stewart used and why all the other facilities
chose not to respond. Defendant’s evidence also reveals that at least one of the
five responding facilities takes the photographs in a less intrusive manner.

Defendant's motion for summary judgment also added a new purported

Case No. 2:13-cv-503 Page 10 of 13

 

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 11 of 13 PAGEID #: 4780

penological interest for taking the photographs—protecting the health, safety,
and welfare of inmates. in essence, Defendant argues that jail house tattoos can
spread communicable diseases throughout the jail and Defendant has a duty to
try to prevent them. Mot. Summ. J. 15-16, ECF No. 198. However, Defendant
fails to provide any evidence that photographs of tattoos have ever been used in
furtherance of this penological interest.

Plaintiff responds to Defendant's renewed motion for summary judgment
first by arguing that “Defendant has not offered any evidence that these
photographs are actually reviewed by anyone for gang affiliation. Resp. 8, ECF
No. 208. Specifically, Plaintiff cites testimony from Mary Jane Martin, the Risk
Manager for the Franklin County Sheriff, in which she agreed, “generally
speaking,” that tattoo photographs were not reviewed for gang classification
purposes unless the ID tech recognized the tattoo to be a threat. Martin Dep. 66,
ECF No. 196. There was no routine policy of reviewing the tattoo photographs to
ensure that none of the tattoos were gang related. Id. at 69:17-24.7 Defendant’s
expert, Captain Stewart, testified that jail personnel would not be “doing their job”
if they took photographs of tattoos for gang classification but never subsequently
reviewed the photographs. Stewart Dep. 149-50, ECF No. 195.

Plaintiff uses the Pima County Jail, the facility at which Captain Stewart

 

3 Ms. Martin added testimony indicating that one of the purposes for taking the tattoo
photographs is for use by outside law enforcement agencies. See id. at 71:6~11.
Case No. 2:13-cv-503 Page 11 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 12 of 13 PAGEID #: 4781

works, as a point of comparison for how photographs could be used. Resp. 9,
ECF No. 208. Captain Stewart testified that at the Pima County Jail ail
photographs of tattoos are reviewed by security personnel to determine whether
the tattoo is gang related. Stewart Dep. 74, ECF No. 195. This is necessary
because intake staff are not trained to identify gang tattoos, but the security
personnel are. See id, at 79:16-18. Franklin County, on the other hand, does
not have staff trained in gang tattoo identification review the photos as a matter
of course. This was one of the Court’s key concerns in its prior Opinion and
Order, and additional discovery has not allayed the Court’s concerns.

After a supplemental period of discovery and another round of briefing on
summary judgment, the same genuine issues of material fact remain that the
Court discussed in greater detail in its prior Opinion and Order. Op. & Order 23—
25, ECF No. 187. While Defendant is entitled to “wide-ranging deference” in
adopting its security policies, Bell, 441 U.S. at 547, this deference is not without
limits. Plaintiff has presented sufficient evidence to create a genuine issue of
material fact as to whether Defendant exaggerated its response to the problem
posed by gang-related tattoos. indeed, both Plaintiff and Defendant have cited
evidence that other facilities handle this same security threat in a far less

intrusive fashion.

Case No. 2:13-cv-503 Page 12 of 13

 
Case: 2:13-cv-00503-MHW-CMV Doc #: 213 Filed: 09/30/19 Page: 13 of 13 PAGEID #: 4782

IV. CONCLUSION
For the foregoing reasons, Defendant's renewed motion for summary

judgment, ECF No. 198, is DENIED. The Court will notice a telephonic status

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MICHAEL H. WATSON, JUDGE
UNITED STATES DISTRICT COURT

conference to discuss trial.

iT iS SO ORDERED.

Case No. 2:13-cv-503 Page 13 of 13

 
